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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                        )          CASE NO. 4:07CR00603-010
                                                 )
       Plaintiff,                                )          JUDGE: JAMES S. GWIN
                                                 )
vs.                                              )          ORDER
                                                 )
RANDY MICHAELS,                                  )
                                                 )
       Defendant.                                )



       This matter was heard on March 4, 2016 upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney James A. Jenkins.

       The violation report was referred to Magistrate Judge George J. Limbert who issued a

Report and Recommendation on February 18, 2016 [Doc. 255]. No objections having been filed

the Court adopted the Magistrate Judge's Report and Recommendation and found that the

following terms of supervision had been violated:

               1) failure to report as directed;

               2) failure to attend treatment.

       The Court found the violations to be Grade C and that defendant was a Criminal History

Category VI.

       The Court sentenced the defendant to 30 days incarceration with credit for time served on

the instant offense after which the defendant will be placed on supervised release for 18
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additional months conditioned upon the defendant's successful completion of 6 months

community control sanction and the substance abuse program available at that location. While

under community control sanction the defendant will only be released for work, for medical

treatment or for religious services.

       The defendant is remanded to the custody of the U.S. Marshals until a bed becomes

available at an appropriate facility. Any additional time served will be credited towards the

defendant's community control sanction.

       IT IS SO ORDERED.




Dated: March 7, 2016                                 s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
